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Exhibit 5

Case 1:24-cr-10090-WGY Document 62-5

LEASE SUMMARY:

Apartment: 527 Winnacunnet Rd, Apt 4,
Hampton, NH 03842

Landlord’s Agent:

BOSTON FLAT SHARES LLC

22 NEWPORT DR, WESTFORD MA 01886
(“us”, “we”, “our” or “Landlord”)

Resident 1:_Janctte Muniz
(“Tenant” “Resident” or “you”)
Resident 2: Edward

(“Tenant” “Resident” or “you”)
Resident 3:_Jason Hunter Jr,
(“Tenant” “Resident” or “you”)

Start Date Lease Term: Oct 1, 2023
End Date Lease Term: May 30, 2024

Each monthly Rent Installment is comprised
of:

Rent $3000
Your Monthly Rent for the Lease Term is

$3000. Utilities are included in the rent (Gas,
Electric) as well as the Cleaning Fee.

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i. LEASED PREMISES AND LEASE
TERM. This Lease entitles you to occupy the
entire home (the “Apartment”), not to be
shared with other tenants or guests of the
Landlord. In addition, you have the right to
the exclusive use of those areas and

belongings on the property.

The Lease does not automatically renew. You
are liable under the terms of this Lease for the
full Lease Term. You may not occupy your
Apartment until the Starting Date and the
Lease and any required guaranty or other
documents have been completely executed
and delivered to us. If we determine, in our
sole discretion, that an Apartment is not
available for occupancy by you on the
Starting Date of the Lease Term, you are
excused from paying Rent under the Lease
for that period of time from the Starting Date
of the Lease Term until an Apartment is
available for your occupancy. Thereafter, if
your Apartment cannot be occupied, we will
proceed as described in Paragraph 11 of this
Lease. Under no circumstances will we be
liable to you for any damages, of any kind,
caused by or related to the failure of your
Gunement to be ready for occupancy on

tarting Date of the Lease Term or at
any time thereafter.

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